                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 1 of 30 Page ID #:38853



                                                           1 ANDREW P. BRIDGES (CSB No. 122761)
                                                             abridges@fenwick.com
                                                           2 JOSEPH S. BELICHICK (CSB No. 229371)
                                                             jbelichick@fenwick.com
                                                           3 TODD R. GREGORIAN (CSB No. 236096)
                                                             tgregorian@fenwick.com
                                                           4 FENWICK & WEST LLP
                                                             555 California Street, 12th Floor
                                                           5 San Francisco, CA 94104
                                                             Telephone: 415.875.2300
                                                           6 Facsimile: 415.281.1350
                                                           7 Attorneys for Defendants
                                                             GIGANEWS, INC. and
                                                           8 LIVEWIRE SERVICES, INC.
                                                           9                       UNITED STATES DISTRICT COURT
                                                          10                      CENTRAL DISTRICT OF CALIFORNIA
                                                          11                                WESTERN DIVISION
                                                          12   PERFECT 10, INC., a California        Case No.: 11-cv-07098-AB (SHx)
F ENWICK & W EST LLP




                                                               Corporation ,
                       ATTORNEYS AT LAW




                                                          13                                         [REDACTED PUBLIC VERSION]
                                          SAN FRANCISCO




                                                                              Plaintiff,
                                                          14                                         DEFENDANTS GIGANEWS, INC.
                                                                      v.                             AND LIVEWIRE SERVICES,
                                                          15                                         INC.’S NOTICE OF MOTION AND
                                                               GIGANEWS, INC., a Texas Corporation; MOTION TO ALTER OR AMEND
                                                          16   LIVEWIRE SERVICES, INC., a Nevada JUDGMENT TO ADD JUDGMENT
                                                               Corporation; and Does 1 through 100,  DEBTOR AND SUPPLEMENTAL
                                                          17   inclusive,                            FEES AWARD
                                                          18                 Defendant.             Date:       June 1, 2015
                                                                                                    Time:       10:00 A.M.
                                                          19                                        Courtroom: 790 Roybal
                                                                                                    Judge: Hon. André Birotte, Jr.
                                                          20
                                                             GIGANEWS, INC., a Texas Corporation;
                                                          21 LIVEWIRE SERVICES, INC., a Nevada
                                                             Corporation,
                                                          22
                                                                          Counterclaimants,
                                                          23
                                                                  v.
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26                 Counterdefendant.
                                                          27
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR                      Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND FOR SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 2 of 30 Page ID #:38854



                                                          1                                           TABLE OF CONTENTS
                                                          2                                                                                                                        Page
                                                          3 NOTICE OF MOTION TO ALTER OR AMEND JUDGMENT TO ADD
                                                                JUDGMENT DEBTOR AND SUPPLEMENTAL FEES AWARD .............. 1
                                                          4
                                                            MEMORANDUM OF POINTS AND AUTHORITIES........................................... 2
                                                          5
                                                            I.  INTRODUCTION ........................................................................................... 2
                                                          6
                                                            II. FACTUAL AND PROCEDURAL BACKGROUND .................................... 3
                                                          7
                                                                A.   Mr. Zada Uses Perfect 10 as His Personal Tax Shelter
                                                          8          Intentionally Undercapitalizing It and Incurring Losses. ..................... 3
                                                          9           B.       Mr. Zada Exploited Perfect 10’s Assets for His Personal Use. ............ 4
                                                          10          C.       Mr. Zada Commingled His Own Funds with Perfect 10’s. .................. 6
                                                          11          D.       Mr. Zada Personally Led the Litigation Against Defendants. .............. 7
                                                          12          E.       Defendants Have Continued to Incur Fees Litigating Against
F ENWICK & W EST LLP




                                                                               Perfect 10. ............................................................................................. 9
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                               III.   ARGUMENT ................................................................................................ 10
                                                          14
                                                                      A.       The Court Should Amend the Judgment to Add Norman
                                                          15                   Zada as a Judgment Debtor................................................................. 10
                                                          16                   1.       Norman Zada is the Alter Ego of Perfect 10. ........................... 11
                                                          17                            a.        Zada Undercapitalized Perfect 10. ................................. 11
                                                          18                            b.        Zada Commingled His and Perfect 10’s Assets
                                                                                                  and Operations. ............................................................... 12
                                                          19
                                                                                        c.        Injustice Would Result if the Court Permits
                                                          20                                      Zada to Escape Liability. ................................................ 13
                                                          21                   2.       Norman Zada Exerted a Degree of Control Over the
                                                                                        Litigation Unique for a Non-Lawyer. ....................................... 14
                                                          22
                                                                      B.       The Court Should Award Defendants The Additional Fees
                                                          23                   They Reasonably Incurred Litigating This Matter. ............................ 15
                                                          24 IV.      CONCLUSION ............................................................................................. 16
                                                          25
                                                          26
                                                          27
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR                                i                      Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND FOR SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 3 of 30 Page ID #:38855



                                                           1                                          TABLE OF AUTHORITIES
                                                           2                                                                                                                Page(s)
                                                           3 CASES
                                                           4 Associated Vendors Inc. v. Oakland Meat Co.,
                                                                210 Cal. App. 2d 825 (Cal. Ct. App. 1962)......................................................... 11
                                                           5
                                                             Automotriz del Golfo de Cal. v. Resnick,
                                                           6    47 Cal. 2d 792 (1957) .............................................................................. 11, 12, 13
                                                           7 Cigna Prop. & Cas. Ins. Co. v. Polaris Pictures Corp.,
                                                                 159 F.3d 412 (9th Cir. 1998) ............................................................................... 10
                                                           8
                                                             In re Levander,
                                                           9     180 F.3d 1114 (9th Cir.1999) .............................................................................. 10
                                                          10 Jack Farenbaugh & Son v. Belmont Const., Inc.,
                                                                194 Cal. App. 3d 1023 (1987) ................................................................. 10, 12, 14
                                                          11
                                                             Katzir’s Floor & Home Design, Inc. v. M-MLS.com,
                                                          12    394 F.3d 1143 (9th Cir. 2004) ............................................................................. 11
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 Laborers Clean-Up Contract Admin. Trust Fund v. Uriarte Clean-Up
                                          SAN FRANCISCO




                                                               Serv., Inc.,
                                                          14   736 F.2d 516 (9th Cir. 1984) ............................................................................... 12
                                                          15 Mesler v. Bragg Mgmt. Co.,
                                                               39 Cal. 3d 290 ...................................................................................................... 11
                                                          16
                                                             NEC Electronics Inc. v. Hurt,
                                                          17   208 Cal. App. 3d 772 (1989) ................................................................... 10, 11, 14
                                                          18 Nilsson, Robbins, Dalgarn, Berliner, Carson & Wurst v. Louisiana
                                                                Hydrolec,
                                                          19    854 F.2d 1538 (9th Cir. 1988) ....................................................................... 11, 13
                                                          20 Odnil Music Ltd. v. Katharsis LLC,
                                                               2008 U.S. Dist. LEXIS 28508 (E.D. Cal. Apr. 7, 2008) ..................................... 15
                                                          21
                                                             Peacock v. Thomas,
                                                          22   516 U.S. 349 (1996) ............................................................................................ 10
                                                          23 S.L. ex rel. Loof v. Upland Unified Sch. Dist.,
                                                                747 F.3d 1155 (9th Cir. 2014) ............................................................................. 10
                                                          24
                                                             United States v. Eleven Vehicles, Their Equip. & Accessories,
                                                          25    200 F.3d 203 (3d Cir. 2000) ................................................................................ 15
                                                          26 Zoran Corp. v. Chen,
                                                                185 Cal. App. 4th 799 (Cal. Ct. App. 2010)........................................................ 11
                                                          27
                                                          28
                                                                DEFENDANTS’ MOTION TO ALTER OR                               ii                    Case No.: 11-cv-07098-AB (SHx)
                                                                AMEND JUDGMENT TO ADD JUDGMENT
                                                                DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 4 of 30 Page ID #:38856



                                                          1                                          TABLE OF AUTHORITIES
                                                                                                           (Continued)
                                                          2                                                                                                                 Page(s)
                                                          3 STATUTES
                                                          4 Cal. Civ. Proc. Code § 187 ....................................................................................... 10
                                                          5 RULES
                                                          6 Fed. R. Civ. P. 54 ...................................................................................................... 10
                                                          7 Fed. R. Civ. P. 59(e) ................................................................................................. 10
                                                          8 Fed. R. Civ. P. 69(a) ............................................................................................. 3, 10
                                                          9
                                                          10
                                                          11
                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR                               iii                    Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 5 of 30 Page ID #:38857



                                                           1     NOTICE OF MOTION TO ALTER OR AMEND JUDGMENT TO ADD
                                                           2          JUDGMENT DEBTOR AND SUPPLEMENTAL FEES AWARD
                                                           3 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                           4         DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.
                                                           5 GIVE NOTICE THAT ON that, on June 1, 2015 at 10:00 A.M., or as soon thereafter
                                                           6 as feasible, in Courtroom No. 4 of the United States District Court for the Central
                                                           7 District of California, located at 312 N. Spring Street, Los Angeles, California,
                                                           8 Defendants Giganews, Inc. and Livewire Services, Inc., will, and hereby do, move
                                                           9 for an order (1) adding Norman Zada, alter ego of Plaintiff Perfect 10, Inc., as a
                                                          10 judgment debtor, and (2) supplementing the Court’s earlier fee award (Dkt. 686)
                                                          11 with additional fees incurred by Defendants since their last submission.
                                                          12         Defendants base this motion on this notice; the memorandum in support; the
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 declaration of Andrew P. Bridges and its exhibits; all other pleadings and papers on
                                          SAN FRANCISCO




                                                          14 file in this action; any matters of which this Court may take judicial notice; and any
                                                          15 other evidence and argument that counsel may present at or before the hearing on
                                                          16 this matter. This motion follows a conference of counsel pursuant to L.R. 7-3
                                                          17 which took place on March 26, 2015.
                                                          18
                                                          19 Dated: April 21, 2014                   FENWICK & WEST LLP
                                                          20
                                                          21                                         By: /s/Andrew P. Bridges
                                                                                                        Andrew P. Bridges
                                                          22
                                                                                                     Attorneys for Defendants
                                                          23                                         GIGANEWS, INC., and
                                                                                                     LIVEWIRE SERVICES, INC.
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR             1               Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 6 of 30 Page ID #:38858



                                                           1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                           2         Defendants Giganews, Inc., and Livewire Services Inc. ask the Court to alter
                                                           3 and amend its judgment in two ways. First, they ask the Court to include Norman
                                                           4 Zada, Perfect 10’s CEO, as a judgment debtor with respect to award of attorney’s
                                                           5 fees and costs because of his unquestionable role as alter ego of Perfect 10 and his
                                                           6 extraordinary personal involvement controlling every action of Perfect 10 and its
                                                           7 attorneys in the case. Second, the Court should update the judgment to reflect
                                                           8 additional fees and costs that Defendants incurred after their last submission of their
                                                           9 fees and costs.
                                                          10 I.      INTRODUCTION
                                                          11         In January 2015, Perfect 10 submitted this testimony from Norm Zada, sworn
                                                          12 under penalty of perjury:
F ENWICK & W EST LLP




                                                                     Perfect 10 currently is in substantial debt. It only has annual revenues
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14         of approximately $40,000 per year... If this Court grants
                                                          15         [][Defendants’ fees] Motion, and awards Defendants the attorney’s
                                                          16         fees they are seeking, Perfect 10 will be forced to shut down, lay off
                                                          17         its remaining employees after 18 years of existence, and declare
                                                          18         bankruptcy.
                                                          19 Dkt. 650-8, at 5, ¶ 15. The Court did award Defendants their attorney’s fees and
                                                          20 expenses, and it found that Perfect 10’s “impecunity is intentional.” Dkt. 686 at
                                                          21 25:14-23. As a result, because of Perfect 10 and Norm Zada’s deliberate use of an
                                                          22 insolvent shell to conduct the litigation and to fund Mr. Zada’s hobby, Defendants
                                                          23 face the prospect of recovering nothing from Perfect 10 while continuing to incur
                                                          24 fees as Mr. Zada litigates his appeal. Perfect 10’s lawyers have proposed a partial
                                                          25 payment on behalf of Perfect 10, evidently from Mr. Zada, and a lien on Mr. Zada’s
                                                          26 home in an effort to avoid enforcement of the judgment. But according to the clear
                                                          27 statements of Perfect 10 and its lawyers, Perfect 10 itself is not in a position to pay
                                                          28 the award against it, and the receipt of payments ostensibly from or on behalf of an
                                                             DEFENDANTS’ MOTION TO ALTER OR              2               Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 7 of 30 Page ID #:38859



                                                           1 insolvent company may create numerous risks in the event of bankruptcy
                                                           2 proceedings.
                                                           3         California law (applicable here through Federal Rule of Civil Procedure
                                                           4 69(a)) allows a judgment creditor to add an alter ego as a judgment debtor by
                                                           5 motion. The Court should permit that here. The evidence in this case established
                                                           6 beyond doubt that Perfect 10 and Mr. Zada are alter egos. The Perfect 10 business
                                                           7 headquarters for many years, a lavish mansion in Beverly Park, was Mr. Zada’s
                                                           8 personal home and playground; employees did not know whether they worked for
                                                           9 Perfect 10 or for Mr. Zada personally; and Mr. Zada commingled personal and
                                                          10 corporate expenses. Perfect 10 has never been profitable as a business and has
                                                          11 never generated significant income through sale of its images. Yet Mr. Zada has
                                                          12 nonetheless used Perfect 10’s expenses (and losses) to reduce his personal income
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 taxes and fund his lavish lifestyle. Mr. Zada has also held himself out as
                                          SAN FRANCISCO




                                                          14 responsible for Perfect 10’s debts, representing to the Court that he personally
                                                          15 “desire[s] to honorably pay the judgment and eliminate post-judgment litigation.”
                                                          16 Dkt. 696 at 2 n.1. Defendants therefore respectfully request that the Court grant his
                                                          17 desire and amend the judgment to add Norman Zada as a judgment debtor.
                                                          18         In addition, the Court’s earlier order awarding attorney’s fees and expenses
                                                          19 took into account the submissions Defendants had filed before the order.
                                                          20 Defendants reasonably incurred more fees and expenses after their last submission
                                                          21 and they ask the Court to update the award with those fees and expenses.
                                                          22 II.     FACTUAL AND PROCEDURAL BACKGROUND
                                                          23         A.     Mr. Zada Uses Perfect 10 as His Personal Tax Shelter
                                                          24                Intentionally Undercapitalizing It and Incurring Losses.
                                                          25         Mr. Zada, an experienced money manager with investments in various
                                                          26 financial markets, founded Perfect 10 “to live out the Bachelor in Paradise dream,”
                                                          27 replete with “a constant stream of naked young things flowing over his threshold.”
                                                          28 Declaration of Andrew P. Bridges in Support of Motion to Amend (“Bridges
                                                             DEFENDANTS’ MOTION TO ALTER OR           3               Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 8 of 30 Page ID #:38860



                                                           1 Decl.”) ¶ 2, Ex. 1 [David Weddle, Among the Mansions of Eden: Tales of Love,
                                                           2 Lust, and Land in Beverly Hills (1st ed. 2003)], at 64, 87; Ex. 2 [4/25/14 Zada
                                                           3 Depo.] at 538:20-23. By 1994, a few years before Perfect 10’s founding, Mr. Zada
                                                           4 earned over $9 million per year by managing hedge funds valued at more than $159
                                                           5 million. Id., Ex. 1 at 85. Mr. Zada continued this profitable line of work until
                                                           6 2007. Dkt. 696-3 at 2, ¶ 4. Mr. Zada’s personal savings provided Perfect 10’s sole
                                                           7 source of capital, and—despite his wealth—he purposefully limited his investments
                                                           8 in Perfect 10 and chose never to seek other investors. Id., Ex. 3 [4/24/14 Zada
                                                           9 Depo.] at 165:10-19. He remains the only shareholder of Perfect 10. Id., Ex. 4
                                                          10 [8/24/14 Zada Depo.] at 246:19-21.
                                                          11         As a result, Perfect 10’s finances have remained precarious throughout its
                                                          12 existence. “Perfect 10 has never been a self-sustaining business, and to date, has
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 lost more than $50 million dollars, if not more.” Dkt. 686, at 17 (citing Dkt. 644-
                                          SAN FRANCISCO




                                                          14 15, pp. 159:7-21, 161:16-23). It has “‘never been solvent’ in more than 15 years of
                                                          15 operation” and has perennially been “on the verge of bankruptcy.” Dkt. 686 at 25;
                                                          16 see also Bridges Decl., Ex. 3 [4/24/14 Zada Depo.] at 159:7-21.
                                                          17         As the Court found, this was by design: Mr. Zada sought to have Perfect 10
                                                          18 operate at a loss. Dkt. 686, at 21, 25 (“the evidence suggests Perfect 10’s
                                                          19 impecunity is intentional”). As Mr. Zada explained, because Perfect 10 is an S
                                                          20 Corporation, “Perfect 10’s losses combined with whatever profits I may have on a
                                                          21 particular year.” Bridges Decl., Ex. 4 [8/24/14 Zada Depo.] at 248:1-11; see also
                                                          22 id., Ex. 2 [4/25/14 Zada Depo.] at 499:23-500:4; Ex. 5 [6/5/14 Chaney Depo.] at
                                                          23 50:23-51:18. Mr. Zada has now submitted excerpts from his personal income tax
                                                          24 filings that reflect millions of dollars of losses on the line for reporting S
                                                          25 Corporation income. Dkt. 696-3, Ex. 1 (line 17). Mr. Zada exploited Perfect 10’s
                                                          26 losses to offset his own earnings for tax purposes.
                                                          27         B.     Mr. Zada Exploited Perfect 10’s Assets for His Personal Use.
                                                          28         Mr. Zada has consistently blurred the line between his and Perfect 10’s
                                                               DEFENDANTS’ MOTION TO ALTER OR             4              Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                               Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 9 of 30 Page ID #:38861



                                                           1 assets: “he’s in it for the lifestyle.” Bridges Decl., Ex. 1 [David Weddle, Among the
                                                           2 Mansions of Eden: Tales of Love, Lust, and Land in Beverly Hills], at 65. As Mr.
                                                           3 Zada himself testified, “the world seems to revolve around beautiful women and
                                                           4 love and sex.” Id., Ex. 3 [4/24/14 Zada Depo.] at 171:12-13. “Norm erected the
                                                           5 Perfect 10 Mansion, where, as shown in the magazine, nymphets play Frisbee
                                                           6 inside the 16,000-square-foot palace or volleyball in the pool, or wash Norm’s car.”
                                                           7 Id., Ex. 6 [“Living Large in the ‘Bimbo Vortex,’” Los Angeles Times, March 16,
                                                           8 2003]. His life at the Perfect 10 mansion became the basis for a reality show
                                                           9 focusing on him, “Norm’s Perfect World.” Id., Ex. 7 [6/25/14 Chou Depo.] at
                                                          10 23:17-22.
                                                          11            The Perfect 10 mansions served simultaneously as Perfect 10’s offices and as
                                                          12 Mr. Zada’s personal residence. Id., Ex. 5 [Chaney Depo.] at 23:23-24:5; 25:3-23.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 Over the years, these addresses included 72 Beverly Park in Beverly Hills, and
                                          SAN FRANCISCO




                                                          14 Perfect 10’s current headquarters at 11803 Norfield Court in the Bel Air
                                                          15 neighborhood of Los Angeles. Id. [Chaney Depo.] at 23:18-24:4; Ex. 8 [Poblete
                                                          16 Depo.] at 13:9-13; Ex. 9 [Screenshot of Perfect10.com address]. Sometimes Zada
                                                          17 held the deed and sometimes Perfect 10 did,1 but each home had a similar function,
                                                          18 serving as a Perfect 10 workplace and Mr. Zada’s playground, where he mixed his
                                                          19 personal life and his business life “pretty thoroughly.” Id., Ex. 7 [Chou Depo.] at
                                                          20 25:15-19.
                                                          21            For example, Mr. Zada does not separate personal and business areas of his
                                                          22 residence. Id., Ex. 5 [Chaney Depo.] at 35:3-10. He maintains Perfect 10’s
                                                          23 business records2 in his bedroom, in addition to hallways, basements, studios, and
                                                          24
                                                              Perfect 10 bought the 72 Beverly Park property for $3,250,000 in 1997 and sold it
                                                               1

                                                          25 for $16,500,000 in 2010. Bridges Decl., Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                                          26 printouts]; & Ex. 2 [4/25/14 Zada Depo.] at 320:7-11. Mr. Zada bought the current
                                                             Perfect 10 headquarters for $4,250,000 in 2010 and currently holds it in his own
                                                          27 name. Id.
                                                          28   2
                                                                   Mr. Zada also mixes his personal and business correspondence, using the same
                                                               DEFENDANTS’ MOTION TO ALTER OR               5             Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 10 of 30 Page ID
                                                                                           #:38862


                                                           1 his office. Id. at 33:16-34:12. Mr. Zada has also held Perfect 10 events at the
                                                           2 home, including boxing matches between company models. Id. at 19:21-20:9.
                                                           3 Melanie Poblete, Perfect 10’s paralegal, lives at the Norfield Court mansion, with
                                                           4 free rent and food. Id., Ex. 2 [4/25/14 Zada Depo.] at 331:23-25; 341:14-20; Ex. 8
                                                           5 [Poblete Depo.] at 74:4-13. Former employee Sheena Chou lived there for
                                                           6 approximately two years. Id., Ex. 7 [Chou Depo.] at 98:20-24. In total, more than
                                                           7 a dozen Perfect 10 workers have conducted their regular business at Mr. Zada’s
                                                           8 residences. Id., Ex. 5 [Chaney Depo.] at 29:6-31:16.
                                                           9         Perfect 10 employees also provide personal services for Mr. Zada.
                                                          10 Ms. Poblete runs personal errands for Mr. Zada, cooks for him, and does his
                                                          11 bookkeeping. Id., Ex. 8 [Poblete Depo.] at 250:19-251:4; Ex. 2 [4/25/14 Zada
                                                          12 Depo.] at 340:14-25. Part of another employee’s job function at Perfect 10 was to
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 massage Mr. Zada. Id., Ex. 5 [Chaney Depo.] at 16:17-17:16; 142:23-143:5. Some
                                          SAN FRANCISCO




                                                          14 employees allowed Mr. Zada to indulge in physical intimacy, and he hit them on
                                                          15 the buttocks, licked their faces, or had them expose their breasts for him. Id. at
                                                          16 142:15-144:20. Perfect 10 also paid employees to work on Mr. Zada’s side
                                                          17 projects, such as ghost-writing Mr. Zada’s personal biography. Id. at 21:2-22:9; Id.,
                                                          18 Ex. 8 [Poblete Depo.] at 247:1-25.
                                                          19         C.     Mr. Zada Commingled His Own Funds with Perfect 10’s.
                                                          20         Mr. Zada does not keep Perfect 10’s money separate from his own when
                                                          21 paying certain expenses. Mr. Zada transferred money from his personal savings to
                                                          22 prop up Perfect 10 at various times. Id., Ex. 3 [4/24/14 Zada Depo.] at 159:17-
                                                          23 160:5, 165:12-19. He is Perfect 10’s only significant creditor (until the judgment in
                                                          24 this case), and he has provided the only meaningful source of funds for Perfect 10
                                                          25 for several years. Id., Ex. 4 [8/24/14 Zada Depo.] at 245:21-246:12; Ex. 2 [4/25/14
                                                          26 Zada Depo.] at 547:12-17. Sometimes Perfect 10 paid its employees and
                                                          27
                                                             email account for both. Bridges Decl., Ex. 12 [6/30/14 Zada Depo.] at 303:24-
                                                          28 304:7.
                                                             DEFENDANTS’ MOTION TO ALTER OR             6             Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 11 of 30 Page ID
                                                                                           #:38863


                                                           1 sometimes Mr. Zada did personally. For example, Melanie Poblete, Perfect 10’s
                                                           2 paralegal, asked to receive part of her salary in cash, which Mr. Zada paid
                                                           3 personally. Id., Ex. 2 [4/25/14 Zada Depo.] at 338:10-18 (“Q: So her salary from
                                                           4 Perfect 10 went down but you made up the difference with personal cash? A:
                                                           5 Correct.”). Another Perfect 10 model and legal assistant, Sheena Chou, received
                                                           6 her compensation alternately from Mr. Zada and Perfect 10 at various times
                                                           7 throughout her employment. Id., Ex. 7 [Chou Depo.] at 104:21-105:15.
                                                           8
                                                           9                                                          Id., Ex. 13 [McCall Depo.] at
                                                          10 37:3-24.
                                                          11         D.     Mr. Zada Personally Led the Litigation Against Defendants.
                                                          12         Mr. Zada directs all aspects of Perfect 10’s primary business, its litigation.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 “In his capacity as President and CEO, Zada spends ‘eight hours a day,’ 365 days a
                                          SAN FRANCISCO




                                                          14 year on litigation” for Perfect 10. Dkt. 686, at 18 (citing Dkt. No. 644-16, at 541:1-
                                                          15 2); see also Bridges Decl., Ex. 12 [6/30/14 Zada Depo.] at 15:23-24. Mr. Zada also
                                                          16 personally finances Perfect 10’s litigation, its biggest expense after 2009, with his
                                                          17 own funds. Id., Ex. 2 [4/25/14 Zada Depo.] at 548:15-549:6. Perfect 10’s litigation
                                                          18 is Mr. Zada’s personal crusade: “I’m the victim of a crime. Okay? Your clients are
                                                          19 stealing everything I own . . . . I instead prefer to sue your clients.” Id., Ex. 4
                                                          20 [8/24/14 Zada Depo.] at 274:20-275:2 (emphasis added).
                                                          21         In this case, the Court found that “Mr. Zada’s work went well beyond that of
                                                          22 a typical corporate representative.” Dkt. 686 at 44.
                                                          23       He created DMCA notices for Perfect 10 and sent them under his own name
                                                          24         and contact information, rather than that of Perfect 10. Bridges Decl., Ex. 2
                                                          25         [4/25/14 Zada Depo.] at 396:3-397:6 (“Giganews is not going to be surprised
                                                          26         by a . . . DMCA notice from me. They’ll certainly know that it’s . . .
                                                          27         Perfect 10.”).
                                                          28       He personally wrote to the Justice Department and the Texas Attorney
                                                               DEFENDANTS’ MOTION TO ALTER OR            7             Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 12 of 30 Page ID
                                                                                           #:38864


                                                           1          General regarding Defendants. Id. at 343:18-346:4.
                                                           2       He conducted Perfect 10’s search for communications regarding Defendants
                                                           3          in response to discovery requests, and personally reviewed and approved the
                                                           4          declarations and document production of non-party witnesses. Id. at 351:19-
                                                           5          25; Id., Ex. 12 [6/30/14 Zada Depo.] at 296:10-297:8.
                                                           6       He participated by VideoLink in depositions of Defendants’ witnesses, and
                                                           7          frequently interjected and directed counsel to ask specific questions. Id., Ex
                                                           8          2 [4/25/14 Zada Depo.] at 385:13-19; Dkt. 686, at 44.
                                                           9       He selected Perfect 10’s experts, frequently drafted or edited their
                                                          10          declarations, and tried to serve personally as Perfect 10’s damages expert.
                                                          11          Bridges Decl. Ex. 2 [4/25/14 Zada Depo.] at 307:10-16; Dkt. 686, at 39 n.15
                                                          12          & 44.
F ENWICK & W EST LLP




                                                                   He personally paid others to prepare and execute declarations on Perfect 10’s
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14          behalf. Bridges Decl. Ex. 7 [Chou Depo.] at 217:11-13.
                                                          15         “Mr. Zada [] frequently wrote ‘the first draft of a brief or [his] declaration,
                                                          16          put the exhibits together, and then [passed] that off to the attorneys to make
                                                          17          sure everything [was] … professional and legal.’” Dkt. 686, at 44. (Dkt. No.
                                                          18          655-7, p. 84:5-10.).
                                                          19       He tried to argue a significant portion of a discovery motion in place of
                                                          20          Perfect 10’s counsel. Dkt. 686, at 44-45.
                                                          21      Mr. Zada himself described his central role in Perfect 10’s discovery efforts as
                                                          22 follows:
                                                          23          Our position is we’ve complied with everything . . . . Because I had
                                                          24          to do it! Because I was involved. Because, we spent months doing
                                                          25          this. So I know exactly what we complied with. We complied with
                                                          26          everything.
                                                          27 Dkt. 355, Declaration of Todd R. Gregorian in Support of Defendants’ Motion to
                                                          28 Compel Compliance, Ex. 11. By the time discovery closed in this case in June
                                                             DEFENDANTS’ MOTION TO ALTER OR          8              Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 13 of 30 Page ID
                                                                                           #:38865


                                                           1 2014, Mr. Zada had already spent more than 2,000 hours working it. Id. at 44.
                                                           2 After the Court had brought it to an end and awarded Defendants their attorney’s
                                                           3 fees, Perfect 10 proposed that it and Mr. Zada each make a conditional partial
                                                           4 payment towards the judgment (falling short of the full amount) in order to stay
                                                           5 enforcement. Bridges Decl. Ex. 14 [4/4/15 E. Benink email].
                                                           6         E.     Defendants Have Continued to Incur Fees Litigating Against
                                                           7                Perfect 10.
                                                           8         On March 24, 2015, the Court issued its order awarding Defendants their
                                                           9 reasonable attorney’s fees and expenses. Dkts. 684 & 686. The Court found that
                                                          10 such an award would serve the purposes of the Copyright Act, as it would
                                                          11 discourage “serial litigants from bringing unmeritorious suits and then
                                                          12 unnecessarily driving up litigation costs.” Id. at 24:11-12; 58:11-13. The Court
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 based its award on Defendants’ submission of invoices, which included fees
                                          SAN FRANCISCO




                                                          14 incurred through approximately December 23, 2014. Dkt. 644-9.
                                                          15         Despite the Court’s grant of summary judgment, Defendants have continued
                                                          16 to incur fees following their December submission. Perfect 10 has caused a
                                                          17 significant portion of this expense by continuing to litigate in the same manner that
                                                          18 justified the original award. For example, despite Judge Hillman’s repeated refusal
                                                          19 to allow further briefing on Defendants’ sanctions motion, Perfect 10’s counsel
                                                          20 filed a request for leave to file supplemental declarations “explaining their actions.”
                                                          21 Dkt. 669 at 2:14-19. Without waiting for leave, counsel also filed one declaration
                                                          22 exceeding 250 pages full of argument responding to charts Defendants had
                                                          23 submitted with their sanctions motion almost six months earlier. Dkt. 670.
                                                          24         In another filing, Perfect 10 violated Judge Hillman’s order by rearguing
                                                          25 substantive issues concerning its misconduct and sanctions. Dkt. 681. Perfect 10
                                                          26 also submitted declarations from Melanie Poblete (Dkt. 681-2) and Jennifer McCall
                                                          27 (Dkt. 681-3), two of the Perfect 10 affiliated third-party witnesses who had violated
                                                          28 the Court’s June 5, 2014 order. While much of that briefing rehashed objections
                                                             DEFENDANTS’ MOTION TO ALTER OR           9                Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 14 of 30 Page ID
                                                                                           #:38866


                                                           1 that Judge Hillman already overruled, Perfect 10 also raised new arguments and
                                                           2 new case law that required Defendants to prepare their response.
                                                           3          Perfect 10 also threatened an ex parte application for an order staying
                                                           4 enforcement of the judgment and the fee award, and it has made several
                                                           5 complicated and illusory “settlement” offers designed to frustrate enforcement of
                                                           6 the judgment while avoiding the need to post a supersedeas bond. Bridges Decl.
                                                           7 Ex. 15. Each of these actions required Defendants to expend resources conducting
                                                           8 research and responding. Defendants detail their further expenses in the
                                                           9 Declaration of Andrew P. Bridges.
                                                          10 III.     ARGUMENT
                                                          11          A.    The Court Should Amend the Judgment to Add Norman Zada as a
                                                          12                Judgment Debtor.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13          Federal Rule of Civil Procedure 69(a) “permits judgment creditors to use any
                                          SAN FRANCISCO




                                                          14 execution method consistent with the practice and procedure of the state in which
                                                          15 the district court sits.” Peacock v. Thomas, 516 U.S. 349, 359 n.7 (1996); see also
                                                          16 In re Levander, 180 F.3d 1114, 1120 (9th Cir.1999) (stating that Fed. R. Civ. P.
                                                          17 69(a) “empowers federal courts to rely on state law to add judgment-debtors”).
                                                          18 California Code of Civil Procedure Section 187 allows a judgment creditor to
                                                          19 amend the judgment to add a nonparty alter ego as a judgment debtor. See Jack
                                                          20 Farenbaugh & Son v. Belmont Const., Inc., 194 Cal. App. 3d 1023, 1027 (1987);
                                                          21 NEC Electronics Inc. v. Hurt, 208 Cal. App. 3d 772, 778 (1989). The judgment-
                                                          22 creditor must bring its motion within a reasonable amount of time3 and show both
                                                          23 (1) that the party to be added satisfies the alter ego criteria, and (2) that the new
                                                          24
                                                               3
                                                          25 a The Rule 59(e) deadline does not govern such a motion, because adding a party to
                                                               judgment is not a substantive amendment going to the merits of the case. Cigna
                                                             Prop. & Cas. Ins. Co. v. Polaris Pictures Corp., 159 F.3d 412, 421 (9th Cir. 1998).
                                                          26 Nevertheless,  to avoid any possible controversy, particularly with hyperlitigious
                                                             opponents  like Perfect 10 and Norman Zada, Defendants file this motion within the
                                                          27 Rule 59(e) deadline.   See Dkt. 686; S.L. ex rel. Loof v. Upland Unified Sch. Dist.,
                                                             747  F.3d 1155,  1162 (9th Cir. 2014) (under Rule 54, an attorney’s fees award
                                                          28 constitutes a separate judgment  effective upon its entry on the docket).
                                                             DEFENDANTS’ MOTION TO ALTER OR              10               Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 15 of 30 Page ID
                                                                                           #:38867


                                                           1 party had control of the litigation and occasion to conduct it with a diligence
                                                           2 corresponding to the risk of personal liability involved. Hurt, 208 Cal. App. 3d at
                                                           3 778-79; see also Katzir’s Floor & Home Design, Inc. v. M-MLS.com, 394 F.3d
                                                           4 1143, 1148-49 (9th Cir. 2004).
                                                           5                1.     Norman Zada is the Alter Ego of Perfect 10.
                                                           6          To establish a party as the alter ego of a corporation, the applicant must show
                                                           7 “(1) that there [is] such unity of interest and ownership that the separate
                                                           8 personalities of the corporation and the individual no longer exist and (2) that, if the
                                                           9 acts are treated as those of the corporation alone, an inequitable result will follow.”
                                                          10 Automotriz del Golfo de Cal. v. Resnick, 47 Cal. 2d 792, 796 (1957). A finding of
                                                          11 alter ego liability requires both factors. Associated Vendors Inc. v. Oakland Meat
                                                          12 Co., 210 Cal. App. 2d 825, 837 (Cal. Ct. App. 1962).
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13          To determine whether there is a sufficient unity of interest and ownership to
                                          SAN FRANCISCO




                                                          14 support alter ego liability, courts consider a long list of factors, including
                                                          15 inadequate capitalization, commingling of funds and assets, sole ownership of the
                                                          16 corporation by an individual, lack of segregation of corporate records, and the
                                                          17 treatment by an individual of the assets of the corporation as his own.4 Zoran Corp.
                                                          18 v. Chen, 185 Cal. App. 4th 799, 811-12 (Cal. Ct. App. 2010). The Court must look
                                                          19 to the totality of the circumstances. Id. “The essence of the alter ego doctrine is
                                                          20 that justice be done.” Mesler v. Bragg Mgmt. Co., 39 Cal. 3d 290, 301(1985).
                                                          21                       a.     Zada Undercapitalized Perfect 10.
                                                          22          Inadequate capitalization itself provides a sufficient basis to make an alter
                                                          23 ego determination. See Nilsson, Robbins, Dalgarn, Berliner, Carson & Wurst v.
                                                          24 Louisiana Hydrolec, 854 F.2d 1538, 1543-1544 (9th Cir. 1988) (corporate president
                                                          25 owning 25 percent of corporation’s stock found alter ego on ground of
                                                          26   4
                                                               Zoran lists fourteen non-exclusive factors that a court may consider in
                                                             determining   alter ego status. There is no magic number that a court requires before
                                                          27 it will recognize  an alter ego; in some cases, a finding on only a few factors will
                                                             suffice.  See e.g.,
                                                          28 Appendix A a chart  Louisiana Hydrolec, 854 F.2d at 1543-1544. Defendants attach as
                                                                                    showing which factors apply in this case.
                                                             DEFENDANTS’ MOTION TO ALTER OR               11               Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 16 of 30 Page ID
                                                                                           #:38868


                                                           1 undercapitalization); Laborers Clean-Up Contract Admin. Trust Fund v. Uriarte
                                                           2 Clean-Up Serv., Inc., 736 F.2d 516, 524 (9th Cir. 1984); Resnick, 47 Cal. 2d at 799.
                                                           3 Where the corporation’s principals reduce it to a mere shell by stripping its assets,
                                                           4 for example, courts typically affirm an alter ego finding. See, e.g., Jack
                                                           5 Farenbaugh & Son, 194 Cal.App.3d at 1033-1034.
                                                           6         Mr. Zada stripped Perfect 10 of assets on a regular basis to fund his lavish
                                                           7 lifestyle and his litigation hobby. He engaged in a unique pattern of both funding
                                                           8 and stripping the company as part of his tax-dodge strategy. The Court has already
                                                           9 found that Mr. Zada intentionally undercapitalized Perfect 10. Dkt. 686, at 21, 25.
                                                          10 He occasionally transferred money from his personal savings to prop up Perfect 10,
                                                          11 but otherwise intentionally caused Perfect 10 to operate at a loss for tax purposes.
                                                          12 Bridges Decl. Ex. 3 [4/24/14 Zada Depo.] at 159:7-160:5, 165:12-19; Ex. 4
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 [8/24/14 Zada Depo.] at 248:1-11; Dkt. No. 644-18, at 50:23-51:10; see also
                                          SAN FRANCISCO




                                                          14 Bridges Decl. Ex. 2 [4/25/14 Zada Depo.] at 499:23-500:4; Ex. 5 [6/5/14 Chaney
                                                          15 Depo.] at 50:23-51:18. Mr. Zada’s undercapitalization of Perfect 10 weighs
                                                          16 strongly in favor of the determination Defendants seek.
                                                          17                      b.    Zada Commingled His and Perfect 10’s Assets and
                                                          18                            Operations.
                                                          19         As pages 4-6 above showed, Mr. Zada fully intertwined Perfect 10’s and his
                                                          20 personal operations and assets. The Court already determined Perfect 10 is his tax
                                                          21 shelter. Mr. Zada remains Perfect 10’s only shareholder. Mr. Zada’s home and
                                                          22 Perfect 10’s office are one and the same. Perfect 10 employees provide personal
                                                          23 services for Mr. Zada, and Mr. Zada occasionally pays them for Perfect 10 duties
                                                          24 from his personal funds. Mr. Zada even offered to personally make a conditional
                                                          25 partial contribution towards satisfaction of the judgment and stated in a separate
                                                          26 filing that he “desire[s] to honorably pay the judgment and eliminate post-judgment
                                                          27 litigation.” Dkt. 696 at 2 n.1.
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR             12              Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 17 of 30 Page ID
                                                                                           #:38869


                                                           1                        c.     Injustice Would Result if the Court Permits Zada to
                                                           2                               Escape Liability.
                                                           3          Finally, the Court must determine whether allowing Mr. Zada to escape
                                                           4 liability would lead to an unjust result. See Louisiana Hydrolec, 854 F.2d at 1544.
                                                           5 The California Supreme Court has held inadequate capitalization standing alone
                                                           6 satisfies this requirement of inequity:
                                                           7          If a corporation is organized and carries business without substantial
                                                           8          capital in such a way that the corporation is likely to have no
                                                           9          sufficient assets available to meet its debts, it is inequitable that
                                                          10          shareholders should set up such flimsy organization to escape
                                                          11          personal liability. The attempt to do corporate business without
                                                          12          providing any sufficient basis of financial responsibility to creditors is
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13          an abuse of the separate entity and will be ineffectual to exempt
                                          SAN FRANCISCO




                                                          14          shareholders from corporate debts. It is coming to be recognized as
                                                          15          the policy of the law that shareholders should in good faith put at the
                                                          16          risk of the business unencumbered capital reasonably adequate for
                                                          17          prospective liabilities. If the capital is illusory or trifling compared
                                                          18          with the business to be done and the risks of loss, this is a ground for
                                                          19          denying the separate entity privilege.
                                                          20 Resnick, 47 Cal.2d 792, 797 (1957). As discussed above, there can be no doubt as
                                                          21 to Perfect 10’s inadequate capitalization.
                                                          22          For many additional reasons, failure to hold Mr. Zada accountable for his
                                                          23 actions would provide an unjust result. The Court ruled that Perfect 10 is a “serial
                                                          24 plaintiff operating on a self-proclaimed business model of litigation.” Dkt. 684
                                                          25 [Fees Order] at 23:28. Finding Perfect 10’s improper motive in bringing suit “well-
                                                          26 documented,” the Court further noted that “Perfect 10 litigated this action in an
                                                          27 unnecessarily litigious manner that was guaranteed (if not designed) to drive up the
                                                          28 costs of litigation.” Id. at 21:8-9 n.4. “The record is replete with similar
                                                             DEFENDANTS’ MOTION TO ALTER OR               13                Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 18 of 30 Page ID
                                                                                           #:38870


                                                           1 unnecessary motion practice and obstinate behavior in discovery, that would be too
                                                           2 lengthy to summarize here.” Id. Absent the alter ego determination, the Court’s fee
                                                           3 award serves only to deter an empty corporate shell, one that Mr. Zada may well
                                                           4 shut down as he has repeatedly threatened in court filings. See Bridges Decl. Ex.
                                                           5 16 [OVH Dismissal Stipulation].
                                                           6                2.     Norman Zada Exerted a Degree of Control Over the
                                                           7                       Litigation Unique for a Non-Lawyer.
                                                           8         A judgment against a corporation “can be made individually binding on a
                                                           9 person associated with the corporation only if the individual to be charged ... had
                                                          10 control of the litigation and occasion to conduct it with a diligence corresponding to
                                                          11 the risk of personal liability that was involved.” Hurt, 208 Cal. App. 3d at 778-79.
                                                          12 Provided the facts establish such control, the corporate entity “virtually
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 represented” the alter ego in the lawsuit. Id. “Control of the litigation […] may
                                          SAN FRANCISCO




                                                          14 consist of a combination of factors, usually including the financing of the litigation,
                                                          15 the hiring of attorneys, and control over the course of the litigation.” Id. at 781; see
                                                          16 also Jack Farenbaugh & Son, 194 Cal.App.3d at 1030-31 (finding control where
                                                          17 alter ego served as president of the party corporation and testified at trial).
                                                          18         A veteran of over thirty lawsuits, including some in which other litigants
                                                          19 sought attorney’s fees against Perfect 10, Mr. Zada had every reason to know that
                                                          20 Perfect 10’s litigation behavior risked exposure to a fees award. The Court is aware
                                                          21 of the intense personal involvement of Norm Zada in the litigation and how he has
                                                          22 managed the case as if he were Perfect 10’s lead counsel directing teams of
                                                          23 subordinate counsel. As pages 6-8 above discuss, Mr. Zada financed the litigation,
                                                          24 selected and supervised its attorneys and experts, drafted pleadings and
                                                          25 declarations, supervised non-party witnesses’ discovery efforts, served as both a
                                                          26 fact and expert witness, participated in conferences of counsel, directed deposition
                                                          27 questioning, and argued at motion hearings. The facts here not only meet each
                                                          28 factor relevant to the control determination but exceed them. Mr. Zada litigated
                                                             DEFENDANTS’ MOTION TO ALTER OR              14             Case No.: 11-cv-07098-AB (SHx)
                                                             AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 19 of 30 Page ID
                                                                                           #:38871


                                                           1 every detail of this case exactly as he wished, providing an ample basis to find
                                                           2 control.
                                                           3         B.    The Court Should Award Defendants The Additional Fees They
                                                           4               Reasonably Incurred Litigating This Matter.
                                                           5         Defendants ask that the Court supplement its fee award to include work
                                                           6 performed after the reply in support of the fees motion in December 2014. Such a
                                                           7 supplemental award falls within the Court’s discretion. See United States v. Eleven
                                                           8 Vehicles, Their Equip. & Accessories, 200 F.3d 203, 209-10 (3d Cir. 2000) (district
                                                           9 court properly exercised its discretion in entertaining a supplemental fee request);
                                                          10 Odnil Music Ltd. v. Katharsis LLC, 2008 U.S. Dist. LEXIS 28508 at *4-6 (E.D.
                                                          11 Cal. Apr. 7, 2008)(in copyright action awarding supplemental attorney’s fees
                                                          12 incurred in amending judgment to include alter ego), report and recommendation
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 adopted, 2008 U.S. Dist. LEXIS 35867 (E.D. Cal. Apr. 30, 2008).
                                          SAN FRANCISCO




                                                          14         The supplemental fees were for the following work:
                                                          15      Reply briefing on the motion for attorney’s fees.
                                                          16      Further briefing and argument on the motion for sanctions before Judge
                                                          17         Hillman, including responding to the improper supplemental filings by
                                                          18         Perfect 10 discussed above;
                                                          19      The motion for review of Judge Hillman’s order vacating his earlier findings
                                                          20         of fact regarding the propriety of sanctions against Perfect 10 and its
                                                          21         attorneys;
                                                          22      Preparation to oppose Perfect 10’s proposed ex parte application for an order
                                                          23         staying enforcement of the judgment and the fee award (which Perfect 10
                                                          24         ultimately did not file);
                                                          25      Responding to proposals made by both Perfect 10’s litigation and bankruptcy
                                                          26         counsel, including research regarding amendment of the judgment and
                                                          27         consultation with a bankruptcy specialist; and
                                                          28      Preparation of this motion.
                                                               DEFENDANTS’ MOTION TO ALTER OR             15               Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
                                                          Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 20 of 30 Page ID
                                                                                           #:38872


                                                           1 Bridges Decl. ¶ 20, Exs. 18-20. Defendants reasonably incurred these fees and they
                                                           2 request the Court award them in full, but also include in their submission a
                                                           3 calculation of the fee amount if the Court decides to carry forward the 10%
                                                           4 deduction it previously applied. Id., ¶ 24; see Dkt. 686 at 49. Defendants will also
                                                           5 continue to incur fees following the filing of this motion, and they therefore request
                                                           6 that the Court award those fees, the amount of which Defendants will support with
                                                           7 a further declaration at the hearing on this motion.
                                                           8 IV.     CONCLUSION
                                                           9         As former Perfect 10 model and legal assistant Sheena Chou testified: “Norm
                                                          10 and Perfect 10 is one and the same.” Bridges Decl. Ex. 7 [Chou Depo.] at 24:14-
                                                          11 18. As one of the many Perfect 10 employees who both lived and worked at Mr.
                                                          12 Zada’s home, she would know. See id., 98:20-24. Perfect 10 and Norman Zada
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 have been functionally indistinguishable this litigation, and they should be legally
                                          SAN FRANCISCO




                                                          14 indistinguishable in the judgment. Mr. Zada controlled the litigation and directed
                                                          15 the conduct that led to the Court’s fee award. Allowing him to hang liability for
                                                          16 that award on an empty corporate shell would defeat the purpose of the award of
                                                          17 fees and expenses, and it would work a substantial injustice in this case. For all of
                                                          18 these reasons, Defendants respectfully request the Court add Norman Zada, alter
                                                          19 ego of Perfect 10, as a judgment debtor to the judgment and also award Defendants
                                                          20 their supplemental reasonable attorney’s fees and expenses.
                                                          21
                                                          22 Dated: April 21, 2015                   FENWICK & WEST LLP
                                                          23
                                                          24                                         By: /s/Andrew P. Bridges
                                                                                                        Andrew P. Bridges
                                                          25
                                                                                                     Attorneys for Defendants
                                                          26                                         GIGANEWS, INC., and
                                                                                                     LIVEWIRE SERVICES, INC.
                                                          27
                                                          28
                                                               DEFENDANTS’ MOTION TO ALTER OR            16               Case No.: 11-cv-07098-AB (SHx)
                                                               AMEND JUDGMENT TO ADD JUDGMENT
                                                               DEBTOR AND SUPP. FEES AWARD
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 21 of 30 Page ID
                                 #:38873


                       Appendix A: Evidence Supporting Alter Ego Finding1

            Alter Ego Factor                                           Factual Evidence

[1] [c]ommingling of funds and other            The record evidence supports this factor. See Dkt. 696-
assets, failure to segregate funds of the       3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Bridges Decl.,
separate entities, and the unauthorized         Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
diversion of corporate funds or assets          331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
to other than corporate uses . . .;             500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                                Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                                4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                                5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                                21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                                34:12, 50:23-51:18; 142:15-144:20; Ex. 6 [“Living
                                                Large in the ‘Bimbo Vortex,’” Los Angeles Times,
                                                March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at 23:17-
                                                22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-13; Ex.
                                                8 [Poblete Depo.] at 74:4-13, 247:1-25, 250:19-251:4;
                                                Ex. 9 [Screenshot of Perfect10.com address]; Ex. 10
                                                [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 12
                                                [6/30/14 Zada Depo.] at 303:24-304:7; Ex. 13 [McCall
                                                Depo.] at 37:3-24.

[2] the treatment by an individual of           The record evidence supports this factor. See Dkt. 696-
the assets of the corporation as his            3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Bridges Decl.,
own . . .;                                      Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
                                                331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
                                                500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                                Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                                4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                                5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                                21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                                34:12, 50:23-51:18; 142:15-144:20; Ex. 6 [“Living
                                                Large in the ‘Bimbo Vortex,’” Los Angeles Times,
                                                March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at 23:17-
                                                22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-13; Ex.
                                                8 [Poblete Depo.] at 74:4-13, 247:1-25, 250:19-251:4;
                                                Ex. 9 [Screenshot of Perfect10.com address]; Ex. 10
                                                [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 13
                                                [McCall Depo.] at 37:3-24.

[3] the failure to obtain authority to          This factor is not applicable.
issue stock or to subscribe to or issue
the same . . .;

1
 The alter ego factors noted in this chart come from Zoran Corp. v. Chen, 185 Cal. App. 4th 799, 811-12 (Cal. Ct.
App. 2010).


                                                        1
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 22 of 30 Page ID
                                 #:38874


           Alter Ego Factor                                     Factual Evidence

[4] the holding out by an individual         The record evidence supports this factor. See Dkt. 696-
that he is personally liable for the         3, Ex. 1 (line 17); Dkt. 696 at 2 n.1; Bridges Decl., Ex.
debts of the corporation . . .;              2 [4/25/14 Zada Depo.] at 338:10-18, 547:12-17,
                                             548:15-549:6; Ex. 3 [4/24/14 Zada Depo.] at 159:17-
                                             160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at
                                             245:21-246:12, 274:20-275:2; Ex. 7 [Chou Depo.] at
                                             104:21-105:15, 217:11-13; Ex. 14 [4/4/15 E. Benink
                                             email]; Ex. 13 [McCall Depo.] at 37:3-24.

[5] the failure to maintain minutes or       The record evidence supports this factor. See Dkt. 686
adequate corporate records, and the          at 44; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at
confusion of the records of the              331:23-25, 320:7-11, 338:10-18, 341:14-20, 548:15-
separate entities . . .;                     549:6; Ex. 5 [Chaney Depo.] at 23:18-24:5, 25:3-23,
                                             29:6-31:16, 33:16-34:12, 35:3-10; Ex. 7 [Chou Depo.]
                                             at 25:15-19, 104:21-105:15; Ex. 8 [Poblete Depo.] at
                                             13:9-13, 74:4-13; Ex. 9 [Screenshot of Perfect10.com
                                             address]; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                             printouts]; Ex. 12 [6/30/14 Zada Depo.] at 303:24-
                                             304:7; Ex. 13 [McCall Depo.] at 37:3-24.
[6] the identical equitable ownership        This factor is not applicable, as only one corporate
in the two entities; the identification of   entity is at issue.
the equitable owners thereof with the
domination and control of the two
entities; identification of the directors
and officers of the two entities in the
responsible supervision and
management;
[7] sole ownership of all of the stock       The record evidence supports this factor. See Bridges
in a corporation by one individual or        Decl., Ex. 3 [4/24/14 Zada Depo.] at 165:10-19; Ex. 4
the members of a family . . . ;              [8/24/14 Zada Depo.] at 246:19-21.

[8] the use of the same office or            The record evidence supports this factor. See Bridges
business location; the employment of         Decl., Ex. 1 [David Weddle, Among the Mansions of
the same employees and/or attorney . .       Eden: Tales of Love, Lust, and Land in Beverly Hills],
.;                                           at 65; Ex. 2 [4/25/14 Zada Depo.] at 320:7-11; Ex. 5
                                             [Chaney Depo.] at 16:17-17:16; 19:21-20:9, 23:18-
                                             24:5, 25:3-23, 29:6-31:16, 33:16-34:12, 35:3-10,
                                             142:15-144:20; Ex. 6 [“Living Large in the ‘Bimbo
                                             Vortex,’” Los Angeles Times, March 16, 2003]; Ex. 7
                                             [6/25/14 Chou Depo.] at 23:17-22, 25:15-19, 98:20-24;
                                             Ex. 8 [Poblete Depo.] at 13:9-13, 250:19-251:4; Ex. 10
                                             [Accurint reports]; Ex. 11 [Zillow printouts]




                                                   2
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 23 of 30 Page ID
                                 #:38875


           Alter Ego Factor                                   Factual Evidence

[9] the failure to adequately capitalize   The record evidence supports this factor. See Dkt. 696-
a corporation; the total absence of        3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
corporate assets, and                      pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
undercapitalization . . .;                 50:23-51:10; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.]
                                           at 499:23-500:4; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
                                           160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
                                           11; Ex. 5 [6/5/14 Chaney Depo.] at 50:23-51:18.
[10] the use of a corporation as a mere    The record evidence supports this factor. See Dkt. 696-
shell, instrumentality or conduit for a    3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
single venture or the business of an       pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
individual or another corporation . . .;   50:23-51:10; Bridges Decl., Ex. 1 [David Weddle,
                                           Among the Mansions of Eden: Tales of Love, Lust, and
                                           Land in Beverly Hills], at 65; Ex. 2 [4/25/14 Zada
                                           Depo.] at 320:7-11, 338:10-18, 340:14-25, 499:23-
                                           500:4, 547:12-17; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
                                           160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at
                                           245:21-246:12, 248:1-11; Ex. 5 [6/5/14 Chaney Depo.]
                                           at 16:17-17:16, 21:2-22:9, 23:18-24:5, 25:3-23, 50:23-
                                           51:18, 142:15-144:20; Ex. 6 [“Living Large in the
                                           ‘Bimbo Vortex,’” Los Angeles Times, March 16, 2003];
                                           Ex. 7 [6/25/14 Chou Depo.] at 23:17-22, 25:15-19,
                                           104:21-105:15; Ex. 8 [Poblete Depo.] at 247:1-25,
                                           250:19-251:4; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                           printouts], Ex. 13 [McCall Depo.] at 37:3-24.

[11] the concealment and                   This factor is not applicable.
misrepresentation of the identity of the
responsible ownership, management
and financial interest, or concealment
of personal business activities . . . ;




                                                  3
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 24 of 30 Page ID
                                 #:38876


           Alter Ego Factor                                  Factual Evidence

[12] the disregard of legal formalities   The record evidence supports this factor. See Dkt. 696-
and the failure to maintain arm's         3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Dkt. 686 at 44;
length relationships among related        Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at 171:12-
entities . . . ;                          13, 320:7-11, 331:23-25, 338:10-18, 340:14-25,
                                          341:14-20, 499:23-500:4, 547:12-17, 548:15-549:6; Ex.
                                          3 [4/24/14 Zada Depo.] at 159:17-160:5, 165:10-19,
                                          245:21-246:12; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
                                          11, 274:20-275:2; Ex. 5 [6/5/14 Chaney Depo.] at
                                          16:17-17:16; 19:21-20:9, 21:2-22:9, 23:18-24:5, 25:3-
                                          23, 29:6-31:16, 33:16-34:12, 35:3-10, 50:23-51:18;
                                          142:15-144:20; Ex. 6 [“Living Large in the ‘Bimbo
                                          Vortex,’” Los Angeles Times, March 16, 2003]; Ex. 7
                                          [6/25/14 Chou Depo.] at 23:17-22, 25:15-19, 98:20-24,
                                          104:21-105:15, 217:11-13; Ex. 8 [Poblete Depo.] at
                                          13:9-13, 74:4-13, 247:1-25, 250:19-251:4; Ex. 9
                                          [Screenshot of Perfect10.com address]; Ex. 10
                                          [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 12
                                          [6/30/14 Zada Depo.] at 303:24-304:7; Ex. 13 [McCall
                                          Depo.] at 37:3-24.

[13] the use of the corporate entity to   The record evidence supports this factor. See Dkt. 696-
procure labor, services or merchandise    3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Dkt. 686, at 17
for another person or entity . . . ;      (citing Dkt. 644-15, pp. 159:7-21, 161:16-23), 21,
                                          25,44; Dkt. No. 644-18, at 50:23-51:10; Bridges Decl.,
                                          Ex. 1 [David Weddle, Among the Mansions of Eden:
                                          Tales of Love, Lust, and Land in Beverly Hills], at 65;
                                          Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
                                          331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
                                          500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                          Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                          4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                          5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                          21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                          34:12, 35:3-10, 50:23-51:18; 142:15-144:20; Ex. 6
                                          [“Living Large in the ‘Bimbo Vortex,’” Los Angeles
                                          Times, March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at
                                          23:17-22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-
                                          13; Ex. 8 [Poblete Depo.] at 13:9-13, 74:4-13, 247:1-
                                          25, 250:19-251:4; Ex. 9 [Screenshot of Perfect10.com
                                          address]; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                          printouts]; Ex. 12 [6/30/14 Zada Depo.] at 303:24-
                                          304:7; Ex. 13 [McCall Depo.] at 37:3-24.




                                                4
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 25 of 30 Page ID
                                 #:38877


           Alter Ego Factor                                   Factual Evidence

[14] the diversion of assets from a        The record evidence supports this factor. See Dkt. 696-
corporation by or to a stockholder or      3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
other person or entity, to the detriment   pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
of creditors, or the manipulation of       50:23-51:10; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.]
assets and liabilities between entities    at 499:23-500:4; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
so as to concentrate the assets in one     160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
and the liabilities in another . . . ;     11; Ex. 5 [6/5/14 Chaney Depo.] at 50:23-51:18.
[15] the contracting with another with     This factor is not applicable, as the avoidance of
intent to avoid performance by use of      liability in this case is not based on any Perfect 10
a corporate entity as a shield against     contracts. Rather, the record evidence establishes that
personal liability, or the use of a        Norman Zada uses the corporate entity Perfect 10 as a
corporation as a subterfuge of illegal     shield against liability for his own litigation practices.
transactions . . .;                        See Dkt. 686, at 18 (citing Dkt. No. 644-16, at 541:1-
                                           2), 39 n.15, 44-45; Dkt. 355, Declaration of Todd R.
                                           Gregorian in Support of Defendants’ Motion to Compel
                                           Compliance, Ex. 11; Bridges Decl., Ex. 2 [4/25/14
                                           Zada Depo.] at 307:10-16, 343:18-346:4, 351:19-25,
                                           385:13-19, 396:3-397:6, 548:15-549:6; Ex. 4 [8/24/14
                                           Zada Depo.] at 274:20-275:2; Ex. 7 [Chou Depo.] at
                                           217:11-13; Ex. 12 [6/30/14 Zada Depo.] at 15:23-24,
                                           296:10-297:8; Ex. 14 [4/4/15 E. Benink email].
[16] and the formation and use of a        This factor is not applicable. Rather, the record
corporation to transfer to it the existing evidence establishes the opposite issue—namely, that
liability of another person or entity.     Norman Zada personally engages in abusive litigation
                                           practices and attempts to use the corporate form of
                                           Perfect 10 to absorb any resulting liability. See Dkt.
                                           686, at 18 (citing Dkt. No. 644-16, at 541:1-2), 39 n.15,
                                           44-45; Dkt. 355, Declaration of Todd R. Gregorian in
                                           Support of Defendants’ Motion to Compel Compliance,
                                           Ex. 11; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at
                                           307:10-16, 343:18-346:4, 351:19-25, 385:13-19, 396:3-
                                           397:6, 548:15-549:6; Ex. 4 [8/24/14 Zada Depo.] at
                                           274:20-275:2; Ex. 7 [Chou Depo.] at 217:11-13; Ex. 12
                                           [6/30/14 Zada Depo.] at 15:23-24, 296:10-297:8; Ex.
                                           14 [4/4/15 E. Benink email].




                                                 5
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 26 of 30 Page ID
                                 #:38878


                       Appendix A: Evidence Supporting Alter Ego Finding1

            Alter Ego Factor                                           Factual Evidence

[1] [c]ommingling of funds and other            The record evidence supports this factor. See Dkt. 696-
assets, failure to segregate funds of the       3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Bridges Decl.,
separate entities, and the unauthorized         Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
diversion of corporate funds or assets          331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
to other than corporate uses . . .;             500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                                Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                                4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                                5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                                21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                                34:12, 50:23-51:18; 142:15-144:20; Ex. 6 [“Living
                                                Large in the ‘Bimbo Vortex,’” Los Angeles Times,
                                                March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at 23:17-
                                                22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-13; Ex.
                                                8 [Poblete Depo.] at 74:4-13, 247:1-25, 250:19-251:4;
                                                Ex. 9 [Screenshot of Perfect10.com address]; Ex. 10
                                                [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 12
                                                [6/30/14 Zada Depo.] at 303:24-304:7; Ex. 13 [McCall
                                                Depo.] at 37:3-24.

[2] the treatment by an individual of           The record evidence supports this factor. See Dkt. 696-
the assets of the corporation as his            3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Bridges Decl.,
own . . .;                                      Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
                                                331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
                                                500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                                Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                                4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                                5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                                21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                                34:12, 50:23-51:18; 142:15-144:20; Ex. 6 [“Living
                                                Large in the ‘Bimbo Vortex,’” Los Angeles Times,
                                                March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at 23:17-
                                                22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-13; Ex.
                                                8 [Poblete Depo.] at 74:4-13, 247:1-25, 250:19-251:4;
                                                Ex. 9 [Screenshot of Perfect10.com address]; Ex. 10
                                                [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 13
                                                [McCall Depo.] at 37:3-24.

[3] the failure to obtain authority to          This factor is not applicable.
issue stock or to subscribe to or issue
the same . . .;

1
 The alter ego factors noted in this chart come from Zoran Corp. v. Chen, 185 Cal. App. 4th 799, 811-12 (Cal. Ct.
App. 2010).


                                                        1
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 27 of 30 Page ID
                                 #:38879


           Alter Ego Factor                                     Factual Evidence

[4] the holding out by an individual         The record evidence supports this factor. See Dkt. 696-
that he is personally liable for the         3, Ex. 1 (line 17); Dkt. 696 at 2 n.1; Bridges Decl., Ex.
debts of the corporation . . .;              2 [4/25/14 Zada Depo.] at 338:10-18, 547:12-17,
                                             548:15-549:6; Ex. 3 [4/24/14 Zada Depo.] at 159:17-
                                             160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at
                                             245:21-246:12, 274:20-275:2; Ex. 7 [Chou Depo.] at
                                             104:21-105:15, 217:11-13; Ex. 14 [4/4/15 E. Benink
                                             email]; Ex. 13 [McCall Depo.] at 37:3-24.

[5] the failure to maintain minutes or       The record evidence supports this factor. See Dkt. 686
adequate corporate records, and the          at 44; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at
confusion of the records of the              331:23-25, 320:7-11, 338:10-18, 341:14-20, 548:15-
separate entities . . .;                     549:6; Ex. 5 [Chaney Depo.] at 23:18-24:5, 25:3-23,
                                             29:6-31:16, 33:16-34:12, 35:3-10; Ex. 7 [Chou Depo.]
                                             at 25:15-19, 104:21-105:15; Ex. 8 [Poblete Depo.] at
                                             13:9-13, 74:4-13; Ex. 9 [Screenshot of Perfect10.com
                                             address]; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                             printouts]; Ex. 12 [6/30/14 Zada Depo.] at 303:24-
                                             304:7; Ex. 13 [McCall Depo.] at 37:3-24.
[6] the identical equitable ownership        This factor is not applicable, as only one corporate
in the two entities; the identification of   entity is at issue.
the equitable owners thereof with the
domination and control of the two
entities; identification of the directors
and officers of the two entities in the
responsible supervision and
management;
[7] sole ownership of all of the stock       The record evidence supports this factor. See Bridges
in a corporation by one individual or        Decl., Ex. 3 [4/24/14 Zada Depo.] at 165:10-19; Ex. 4
the members of a family . . . ;              [8/24/14 Zada Depo.] at 246:19-21.

[8] the use of the same office or            The record evidence supports this factor. See Bridges
business location; the employment of         Decl., Ex. 1 [David Weddle, Among the Mansions of
the same employees and/or attorney . .       Eden: Tales of Love, Lust, and Land in Beverly Hills],
.;                                           at 65; Ex. 2 [4/25/14 Zada Depo.] at 320:7-11; Ex. 5
                                             [Chaney Depo.] at 16:17-17:16; 19:21-20:9, 23:18-
                                             24:5, 25:3-23, 29:6-31:16, 33:16-34:12, 35:3-10,
                                             142:15-144:20; Ex. 6 [“Living Large in the ‘Bimbo
                                             Vortex,’” Los Angeles Times, March 16, 2003]; Ex. 7
                                             [6/25/14 Chou Depo.] at 23:17-22, 25:15-19, 98:20-24;
                                             Ex. 8 [Poblete Depo.] at 13:9-13, 250:19-251:4; Ex. 10
                                             [Accurint reports]; Ex. 11 [Zillow printouts]




                                                   2
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 28 of 30 Page ID
                                 #:38880


           Alter Ego Factor                                   Factual Evidence

[9] the failure to adequately capitalize   The record evidence supports this factor. See Dkt. 696-
a corporation; the total absence of        3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
corporate assets, and                      pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
undercapitalization . . .;                 50:23-51:10; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.]
                                           at 499:23-500:4; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
                                           160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
                                           11; Ex. 5 [6/5/14 Chaney Depo.] at 50:23-51:18.
[10] the use of a corporation as a mere    The record evidence supports this factor. See Dkt. 696-
shell, instrumentality or conduit for a    3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
single venture or the business of an       pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
individual or another corporation . . .;   50:23-51:10; Bridges Decl., Ex. 1 [David Weddle,
                                           Among the Mansions of Eden: Tales of Love, Lust, and
                                           Land in Beverly Hills], at 65; Ex. 2 [4/25/14 Zada
                                           Depo.] at 320:7-11, 338:10-18, 340:14-25, 499:23-
                                           500:4, 547:12-17; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
                                           160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at
                                           245:21-246:12, 248:1-11; Ex. 5 [6/5/14 Chaney Depo.]
                                           at 16:17-17:16, 21:2-22:9, 23:18-24:5, 25:3-23, 50:23-
                                           51:18, 142:15-144:20; Ex. 6 [“Living Large in the
                                           ‘Bimbo Vortex,’” Los Angeles Times, March 16, 2003];
                                           Ex. 7 [6/25/14 Chou Depo.] at 23:17-22, 25:15-19,
                                           104:21-105:15; Ex. 8 [Poblete Depo.] at 247:1-25,
                                           250:19-251:4; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                           printouts], Ex. 13 [McCall Depo.] at 37:3-24.

[11] the concealment and                   This factor is not applicable.
misrepresentation of the identity of the
responsible ownership, management
and financial interest, or concealment
of personal business activities . . . ;




                                                  3
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 29 of 30 Page ID
                                 #:38881


           Alter Ego Factor                                  Factual Evidence

[12] the disregard of legal formalities   The record evidence supports this factor. See Dkt. 696-
and the failure to maintain arm's         3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Dkt. 686 at 44;
length relationships among related        Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at 171:12-
entities . . . ;                          13, 320:7-11, 331:23-25, 338:10-18, 340:14-25,
                                          341:14-20, 499:23-500:4, 547:12-17, 548:15-549:6; Ex.
                                          3 [4/24/14 Zada Depo.] at 159:17-160:5, 165:10-19,
                                          245:21-246:12; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
                                          11, 274:20-275:2; Ex. 5 [6/5/14 Chaney Depo.] at
                                          16:17-17:16; 19:21-20:9, 21:2-22:9, 23:18-24:5, 25:3-
                                          23, 29:6-31:16, 33:16-34:12, 35:3-10, 50:23-51:18;
                                          142:15-144:20; Ex. 6 [“Living Large in the ‘Bimbo
                                          Vortex,’” Los Angeles Times, March 16, 2003]; Ex. 7
                                          [6/25/14 Chou Depo.] at 23:17-22, 25:15-19, 98:20-24,
                                          104:21-105:15, 217:11-13; Ex. 8 [Poblete Depo.] at
                                          13:9-13, 74:4-13, 247:1-25, 250:19-251:4; Ex. 9
                                          [Screenshot of Perfect10.com address]; Ex. 10
                                          [Accurint reports]; Ex. 11 [Zillow printouts]; Ex. 12
                                          [6/30/14 Zada Depo.] at 303:24-304:7; Ex. 13 [McCall
                                          Depo.] at 37:3-24.

[13] the use of the corporate entity to   The record evidence supports this factor. See Dkt. 696-
procure labor, services or merchandise    3, Ex. 1 (line 17); Dkt. 696-3 at 2, ¶ 4; Dkt. 686, at 17
for another person or entity . . . ;      (citing Dkt. 644-15, pp. 159:7-21, 161:16-23), 21,
                                          25,44; Dkt. No. 644-18, at 50:23-51:10; Bridges Decl.,
                                          Ex. 1 [David Weddle, Among the Mansions of Eden:
                                          Tales of Love, Lust, and Land in Beverly Hills], at 65;
                                          Ex. 2 [4/25/14 Zada Depo.] at 171:12-13, 320:7-11,
                                          331:23-25, 338:10-18, 340:14-25, 341:14-20, 499:23-
                                          500:4, 547:12-17, 548:15-549:6; Ex. 3 [4/24/14 Zada
                                          Depo.] at 159:17-160:5, 165:10-19, 245:21-246:12; Ex.
                                          4 [8/24/14 Zada Depo.] at 248:1-11, 274:20-275:2; Ex.
                                          5 [6/5/14 Chaney Depo.] at 16:17-17:16; 19:21-20:9,
                                          21:2-22:9, 23:18-24:5, 25:3-23, 29:6-31:16, 33:16-
                                          34:12, 35:3-10, 50:23-51:18; 142:15-144:20; Ex. 6
                                          [“Living Large in the ‘Bimbo Vortex,’” Los Angeles
                                          Times, March 16, 2003]; Ex. 7 [6/25/14 Chou Depo.] at
                                          23:17-22, 25:15-19, 98:20-24, 104:21-105:15, 217:11-
                                          13; Ex. 8 [Poblete Depo.] at 13:9-13, 74:4-13, 247:1-
                                          25, 250:19-251:4; Ex. 9 [Screenshot of Perfect10.com
                                          address]; Ex. 10 [Accurint reports]; Ex. 11 [Zillow
                                          printouts]; Ex. 12 [6/30/14 Zada Depo.] at 303:24-
                                          304:7; Ex. 13 [McCall Depo.] at 37:3-24.




                                                4
Case 2:11-cv-07098-AB-JPR Document 703 Filed 04/21/15 Page 30 of 30 Page ID
                                 #:38882


           Alter Ego Factor                                   Factual Evidence

[14] the diversion of assets from a        The record evidence supports this factor. See Dkt. 696-
corporation by or to a stockholder or      3, Ex. 1 (line 17); Dkt. 686, at 17 (citing Dkt. 644-15,
other person or entity, to the detriment   pp. 159:7-21, 161:16-23), 21, 25; Dkt. No. 644-18, at
of creditors, or the manipulation of       50:23-51:10; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.]
assets and liabilities between entities    at 499:23-500:4; Ex. 3 [4/24/14 Zada Depo.] at 159:7-
so as to concentrate the assets in one     160:5, 165:12-19; Ex. 4 [8/24/14 Zada Depo.] at 248:1-
and the liabilities in another . . . ;     11; Ex. 5 [6/5/14 Chaney Depo.] at 50:23-51:18.
[15] the contracting with another with     This factor is not applicable, as the avoidance of
intent to avoid performance by use of      liability in this case is not based on any Perfect 10
a corporate entity as a shield against     contracts. Rather, the record evidence establishes that
personal liability, or the use of a        Norman Zada uses the corporate entity Perfect 10 as a
corporation as a subterfuge of illegal     shield against liability for his own litigation practices.
transactions . . .;                        See Dkt. 686, at 18 (citing Dkt. No. 644-16, at 541:1-
                                           2), 39 n.15, 44-45; Dkt. 355, Declaration of Todd R.
                                           Gregorian in Support of Defendants’ Motion to Compel
                                           Compliance, Ex. 11; Bridges Decl., Ex. 2 [4/25/14
                                           Zada Depo.] at 307:10-16, 343:18-346:4, 351:19-25,
                                           385:13-19, 396:3-397:6, 548:15-549:6; Ex. 4 [8/24/14
                                           Zada Depo.] at 274:20-275:2; Ex. 7 [Chou Depo.] at
                                           217:11-13; Ex. 12 [6/30/14 Zada Depo.] at 15:23-24,
                                           296:10-297:8; Ex. 14 [4/4/15 E. Benink email].
[16] and the formation and use of a        This factor is not applicable. Rather, the record
corporation to transfer to it the existing evidence establishes the opposite issue—namely, that
liability of another person or entity.     Norman Zada personally engages in abusive litigation
                                           practices and attempts to use the corporate form of
                                           Perfect 10 to absorb any resulting liability. See Dkt.
                                           686, at 18 (citing Dkt. No. 644-16, at 541:1-2), 39 n.15,
                                           44-45; Dkt. 355, Declaration of Todd R. Gregorian in
                                           Support of Defendants’ Motion to Compel Compliance,
                                           Ex. 11; Bridges Decl., Ex. 2 [4/25/14 Zada Depo.] at
                                           307:10-16, 343:18-346:4, 351:19-25, 385:13-19, 396:3-
                                           397:6, 548:15-549:6; Ex. 4 [8/24/14 Zada Depo.] at
                                           274:20-275:2; Ex. 7 [Chou Depo.] at 217:11-13; Ex. 12
                                           [6/30/14 Zada Depo.] at 15:23-24, 296:10-297:8; Ex.
                                           14 [4/4/15 E. Benink email].




                                                 5
